Case 1:08-cV-00114-RFC Document 1 Filed 11/13/08 Page 1 of 10

JOHN J. RUSSELL

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Aitorneysfor Defendam Keiz.‘h R. Shulrz

IN THE UNITED STATES DISTRIC'I` COURT
FOR THE DISTRICT OF MONTANA,
BILLINGS DIVISION

DENICE D. FABRIZIUS and WILLIAM
FABRIZIUS,

Plaintiffs,
V.

KEITH R. SHULTZ, M.D.,
YELLOWSTONE SURGERY CENTER,
DOES I through X, and ROB
CORPORATIONS I through `X, inc}.usive,

\.,_/"_/\q,/\_/\_/\_/\_/\_/\,/\_/

Dei"endant.

Causc No.:

owe \ \$~ em eeo

PETITION AND NOTICE OF
REMOVAL PURSUANT 'I`O
28 U.S.C. §§ 1441(3) AND 1446

Pursuant to 28 U.S.C. § 1332 (Diversity Jurisdiction), § 1441 {Actions Removable), and §

1446 (Procedures for Removal), Defendent Keith R. Sh.ultz, M.D., hereby gives notice of removal

ofthe above action to the United States District Court for the District ofMontana, Billings Division.

Pursuant to the requirements of 28 U.S.C. § 1446(2.) that notice of removed shall contain a "Short and

plain Statement ofthe grounds for removaf:" the Defendant hereby states that removed ofthis matter

Case 1:08-cV-00114-RFC Document 1 Filed 11/13/08 Page 2 of 10

to Federal Court under "Diversity" jurisdiction is proper based on the following:

l.

C)n March 20, 2008, Plaintiffs filed a civil complaint in the l\/iontana Thirteenth
indicial District Court, Yellowstone County, Cause No. DV 08-4i7, seeking relief
against Befendants ("Plaintii`fs‘ Compiaint“). See copy of Piaintiffs' Cornplaint,
attached hereto as Exhibit "A".

Defeiidaiits received a copy of the summons and complaint on Novemher 3, 2008.

The notice ofrernovai is timeiy under 28 U.S.C. § 1446('!)).

’l`he Piaintiffs, Denice and Wiiliarn Fabrizius, are residents ofFremont County, State
of Wyoming. Defendant Keith Shuitz, M.D., is a resident of Yellowstone Connty,
State ofl\/lontana. Defendant Yeliowstone Surgery Center, LLC, is a Montana LLC,
with its principal place of business in Yeiiowstone County, State of i\/Iontana.

The amount in dispute is more than S'FS,OO0.00. Plaintiffs' Complaint is a medical
malpractice case based on negligence Plaintifi"s seek ali compensatory damages
allowed by iaw, including economic and non-economic damages, loss ot`consortium,
permanent physical impairment, life care expenses and disfigurement damages ’I`he

total sum cf all damages sought by Plaintit`fs is greater than $75,000.

WHEREFORE, Defendant Keith R. Shuitz, i\/LD., hereby issues notice that Cause No,DV

08-417, formally pending in the Thirteenth Judicial District, Yeliowstone County, Montana, has been

removed to the United States District Court for the District of Mcntana.

DATED this llth day of November, 2008.

Case 1:08-cV-00114-RFC Document 1 Filed 11/13/08 Page 3 of 10

BROWN LAW FIRM, P.C.

By /s/ John J. Russeil
lolni J. Russell
P.O. Box 849
Billings, M'l` 59103~0849
Az'rorneyfor Defendant Kez`rh R. Shultz

CER'I`IFICATE OF SERVICE

l hereby certify that, on Novernber li, 2008, a copy ofPetition and Notice of Removal was
served on the following persons by the following ineans:

12 3 4 CM/ECF
5 Hand Deiivery
Mail

 

1. Cierk, U.S. District Conrt

2. David R. Paoli
Paoli, Latino & Kutzman, P.C.
257 West Front Street
P.O. Box 8 l 3 l
l\/iissouia, MT 59802

3. Stephen D. Ochs
805 South Reserve Street
i\/Iissoula, MT 59804

4. Ricliard E. Gillespie
50 S. Last Chance Gulch, 3d Floor
P.G. Box 598
Helena, l\/iT 59624

5. Clerk of District Cou.rt
P. O. Box 35030
Biliings, MT 59107

Fax
E~l\/iail
Overnight Delivery Services

By: /s/ John J. Russell
lohn .T. Russell
Attorney for Defendant

/i/J

 

 

Case 1:08-cV-00&4-RFC Document 1 Filed 11/13/08 Page 4 of 10

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Massouia, MT 59802 BY 9
stephen n. ochs, rvz.o., J.n. DEPUTY

805 South Reserve St.
Misseu|a, MT 59804

Attome y for Plaintih‘s

MONTANA TH|RTEENTH JUD!C!AL DlSTRlCT COURT,

vELLowsToNE conn-rv
as ... . "
DENK:E D. FAaRizius and CGHS€ Ni"?i DV 08 04 1 7
WiLL;AM FAsRlzius, D@P"NO-~ mwm '

P!aintiffs,

VS' coMPLA\NT AND DEMAND Fon

Ksrn~l R. snuirz, M.e., JURV TR!AL

YELLoWsTcNE suRcERY / am /,,14 3
cENTER, nose 1 through x, and
nos coRPoRAnoNs 1 though x,
inclusive,

 

Defendants.

 

CONIE NOVV Plainti’rfs, Denice D. and William Fabrizius (hereatter “Denice
Fabrizius” end “Bill Fabrizius”), for their causes of action against the

Defendants, and ailege as follows:

 

COl\'IPLM N'f` AND DEMAND FOR JURV TREAL Pagcl

Exbibit A

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Case 1:08-cV-001@RFC Document 1 Filed 11/13/08 Page 5 of 10

vi

1. Plaintiff, DENiCE FABR|Z¥US, is and was at all times herein
mentioned, an individuai residing in the State of Wyoming.

2. Plaintiff, BlLL FABR|Z|US, is and was at all times hetein
mentioned an individual residing in the State of Wyoming.

3. That at all times mentioned herein, Plaintiffs Were informed and
believed and, therefore, allege that Defendant KE|TH R. SHULTZ, M.D.
Was a resident and licensed physician in Yellowstone County of l\/iontana.

4. That at all times mentioned herein, Plaintiffs Were informed and
believed ~ancl, therefore, aiiege that Defendant YE!_LOWSTONE SLFRGERY
CENTER, Was a licensed corporation and healthcare facility in Yellowstone
County of Niontana.

5. That at all times mentioned herein, whether individual, corporate,
associate or otherwise Defendants, Does 1 -- X and Roes Corporations 1 --
X are unknown to Piaintiffs, who therefore sue said Defendant by such
fictitious names and will ask to amend this Complaint to show their true
names and capacities when the same have been ascertained Plaintiffs
are informed and beiieve and, therefore, allege that the Defendant
designated as a DOE or ROE is negligently and/or legally responsibie in
some manner for the events described herein, and negligently and/or

legaily caused injury and damages to the Plaintiffs as alieged herein.

 

COMPLA¥NT ANH DEMAND FOR .J{.'RY TRlAh page 2

Case 1:08-cv-00WRFC Document 1 Filed 11/13/08‘ Page 6 of 10

6. On November i{}, 2004, Denise Fabrizius was seen and treated
by Keith R. Shultz, M.D. at the Yellowstone Surgery Center located in
Billings, Montana.

7. That same day, Dr. Shultz elected to perform a C6~7 cervical
epidural steroid block on Denice for the treatment of and relief for neck pain
with the diagnosis of cervical spondylosis.

8. Wherein Dr. Shultz placed the epidural needle for the cervical
epidura! biock, Denice “jnrnped” and verbalized to Dr. Shultz her sensation
of instantaneous and excruoiating pain radiating down her entire left arm
and hand.

9. Dr. Shuitz, without first repositioning the epidurai needle placement
and waiting for complete resolution of her left arm pain, proceeded to inject
a combination of radio-opaque dye, local anesthetic and steroid
medication

10. Within minutes, Denice was returned to the post»procedure
recovery and observation unit of the Yeliowstone Surgery Center where
she advised the nursing staff other intense left arm and hand pain.

11. Dr. Shultz later examined Denice whiie she was still recovering in

the unit and discharged her back to her home in Paviiion, Wyoming.

 

COMPLAINT AND DI:`.MAND FOR JURY TR|F\L Page 3

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Case 1:08-cv-OW-RFC Document 1 Filed 11/13/08 Page 7 of 10
ii

12. Denlse drove back to Blllings, Montana the next day, Novernber
11, 2004, for urgent evaluation in the Ernergency Department at Saint
Vincent Healthcare for Denice’s complaints of persisting, increasing and
intense pain of her left arm and hand.

13. Dr. Shultz has not seen nor treated Denice for her continuing and
incapacitating iett and, later, right arm pain

14. On Noverriber 27, 2004, Denice Was examined and treated by
iviary Nea|, M.D. in Riverton, Wyorning for her complaint of intense left arm
paln, hypersensitivlty and Weakness.

15. At that time Dr. Neal diagnosed Denice’s pain as severe RSD
(Rellex Sympathetic Dystrophy).

16. Denice Was later examined and treated by Alan Brewer, M.D., a
pain specialist at the University of Coiorado in Denver in January of 2008.

17. Dr. Brewer diagnosed `i“ype ll CRPS‘ (Cornplex Regional Pain
Syndrome) or a subset of RSD

FIR§T CAUSE OF ACTION

18. `i'he Plaintitfs hereby incorporate the foregoing allegations herein
as though said paragraphs were fully set forth in full herein

19. Dr. Sheltz faiied to properly evaluate Denice prior to

recommending and performing the cervical epidural steroid block.

 

COMPLAINT AND DEMAND FUR JliRY TR!AI... Pagc 4

 

Case 1:08-cv-W14-RFC Document 1 Filed 11/13/08 Page 8 of 10

20. Dr. Shuitz failed to properly perform the cervical epidural blocl<.

21. Dr. Shultz failed to recognize the mal-position of the epidurat
needle placement and failed to reposition the needle after being told by
Denice that she had intense radiating left arm paln.

22. Dr. Shu|tz proceeded to inject Denice Fabrizius in spite other
complaints of continued left arm pain at the time of the epidural bloci<.

23. By reason of these failures, Dr. Schuitz directly and proximately
caused and contributed by his negligence to Denice’s post-procedure
neurological injury, permanent disability and damages

SECOND CAUS§ OF ACTlON

24. The Plaintiffs hereby incorporate the foregoing allegations herein
as though said paragraphs were fully set forth in full herein.

25. Yellowstone Surgery Center, operating a state licensed
healthcare facility in the State of l\/lontana, failed to properly monitor and
assure the clinical competence of Dr. Shuitz, an anesthesiologist,
shareholder and healthcare provider

26. Yel!owstone Surgery Center Failed to maintain accurate, timely
and complete medical records concerning the medical care provided by Dr.

Shuitz to Denice.

 

COMPLAINT AND DEM/\ND FOR J'URY TR¥AL Page 5

 

Case 1:08-cv-0W-RFC Document 1 Filed 11/13/08 Page 9 of 10
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27. By reason of these failures, Yel|owstone Surgery Center caused
and contributed through its negligence to Denice’s post-procedure
neurological injury, permanent disability and damages

THiRD CAUSE OF ACTION

28. The Plaintiffs hereby incorporate theforegoing allegations herein
as though said paragraphs were fully set forth in full herein.

29.'l'he injury to Denice occurred without any fault of her own.

30. The instrumentality of the injury to Denice was under the

. exclusive control of Dr, Shu|tz at the time Denice was injured.

3‘i. Denice’s injury is one that does not occur in the ordinary course

of things and would not have occurred if Dr. Shuitz had used proper care.
FOURTH CAUSE OF ACTION

32. The Plaintiffs hereby incorporate the foregoing allegations
herein as though said paragraphs Were fully set forth in full herein.

33. That as a direct and proximate result of Defendants’ negligence
Blll Fabrizius has suffered the loss of consortium, society and comfort of
Denice in amounts ali to be proven at tria|.

EB...AY........E.B_
WHEREFORE, the Plaintiffs pray forjudgment against the

Defendants and each of them, as foilows:

 

COMPLAINT AND DEMAND FOR JURY TR¥AL ?nge 6

Case 1:08-cv-00W-RFC Document 1 Filed 11/13/08 Page 10 of 10
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a. For compensatory, economic, non~economlc, loss of consortium,
permanent physical impairment life care expenses and disfigurement
damages, all in an amount according to proof;

b. For post-judgment interest at the maximum legal rate;

c. For fees and costs of suit herein; and

d. For such other and further relief as this Court deems just and
proper. '

JUR\{ DEMAND
COME NOW the P|aintiffs and demand a trial by jury.

DATED this 18th day of March, 2008.

 

Attorneys for Plain fiff
Pao|i, l_atino & Kutzman, P.C.

 

COMPLA]NT AND DEMAND FOR JURY TR|AL Page 7

